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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                              NORTHWESTERN DIVISION

United States of America,                    )
                                             )
               Plaintiff,                    )       ORDER
                                             )
      vs.                                    )
Dancing Echo Leevon Knight,                  )       Case No. 4:13-cr-142-7
                                             )
               Defendant.                    )


        On August 18, 2015, defendant appeared before the court on a petition for action on the

conditions of her supervised release. Following a detention hearing on August 19, 2015, she was

ordered detained pending a final hearing on the petition.

        On October 27, 2015, the court issued an order modifying defendant’s conditions of

supervision to permit her to reside at the Robinson Recovery Center in Fargo, North Dakota, and

participate in its substance abuse treatment program. The Pretrial Services Office has now advised

that there will be space available for defendant at the Robinson Recovery Center on November 11,

2015.

        Accordingly, it is ORDERED that defendant shall be released, subject to the conditions of

supervision as modified by the court in its October 27, 2015, to her mother, Rose Crow Flies, no

earlier than 6:00 a.m. on November 11, 2015, for transport to the Robinson Recovery Center in

Fargo. Defendant is to report to the Robinson Recovery Center by 12:00 p.m. on November 11,

2015.

        Dated this 5th day of November, 2015.

                                                     /s/ Charles S. Miller, Jr.
                                                     Charles S. Miller, Jr., Magistrate Judge
                                                     United States District Court
